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                                                                                                                                                                              of the James Charles Van Zee and Elizabeth Ann
                                                                                                                                                                            6 Van Zee Revocable Living Trust of July 2009
                                                                                                                                                                            7
                                                                                                                                                                            8                           UNITED STATES BANKRUPTCY COURT

                                                                                                                                                                            9                           CENTRAL DISTRICT OF CALIFORNIA
E P P ORT , R ICHM AN & R OBB INS , L L P




                                                                                                                                                                           10                                   SANTA ANA DIVISION
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                                                                                                                                                                           11
                                                                                                                                                                           12 In re                                             CASE NO. 8:24-bk-10285-MH
                                                                                LOS ANGELES, CALIFORNIA 90067-2512
                                            1875 CENTURY PARK EAST, SUITE 800




                                                                                                                                                                           13 PHILIP H. INMAN,                                  Chapter 13

                                                                                                                                                                           14                Debtor.                            Judge: Hon. Mark D. Houle

                                                                                                                                                                           15                                                   OBJECTION OF ELIZABETH ANN VAN
                                                                                                                                                                                                                                ZEE, AS TRUSTEE OF THE JAMES
                                                                                                                                                                           16                                                   CHARLES VAN ZEE AND ELIZABETH
                                                                                                                                                                                                                                VAN ZEE REVOCABLE LIVING TRUST
                                                                                                                                                                           17                                                   OF JULY 2009, TO CONFIRMATION OF
                                                                                                                                                                                                                                THE FIRST AMENDED CHAPTER 13
                                                                                                                                                                           18                                                   PLAN OF DEBTOR PHILIP H. INMAN

                                                                                                                                                                           19                                                   Hearing Information
                                                                                                                                                                                                                                Date:       April 25, 2024
                                                                                                                                                                           20                                                   Time:     10:30 a.m.
                                                                                                                                                                                                                                Courtroom.: 6C
                                                                                                                                                                           21                                                   Place:      411 W. Fourth Street,
                                                                                                                                                                                                                                            Santa Ana, CA 92701
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                                                                                                                                                                            1          TO THE HONORABLE MARK A. HOULE, UNITED STATES BANKRUPTCY

                                                                                                                                                                            2 JUDGE, DEBTOR PHILIP H. INMAN AND HIS ATTORNEY OF RECORD, THE
                                                                                                                                                                            3 CHAPTER 13 TRUSTEE, AND ALL PARTIES IN INTEREST:
                                                                                                                                                                            4          Elizabeth Ann Van Zee, as Trustee of the James Charles Van Zee and Elizabeth Ann Van

                                                                                                                                                                            5 Zee Revocable Living Trust of July 2009 (“Van Zee”), hereby submits her objection to the
                                                                                                                                                                            6 confirmation of the First Amended Chapter 13 Plan (the “Amended Plan”) of Debtor Philip H.
                                                                                                                                                                            7 Inman (the “Debtor”), on the following grounds.
                                                                                                                                                                            8          1.      Van Zee is the fifty percent (50%) owner, with a tenant in common interest, of the

                                                                                                                                                                            9 real property identified in the Debtor’s schedules and commonly known as 12066-68 Downey
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                                                                                                                                                                           10 Avenue, Downey, California 90241 (the “Downey Property”).
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                                                                                                                                                                           11          2.      Van Zee objects to the Debtor’s rejection of the property management contract

                                                                                                                                                                           12 governing the management of the Downey Property under Class 7 of the Amended Plan, on the
                                                                                LOS ANGELES, CALIFORNIA 90067-2512
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                                                                                                                                                                           13 basis that the Debtor’s estate is solvent or near-solvent, and her financial and property interests
                                                                                                                                                                           14 will be harmed if the Debtor is permitted to unilaterally reject the contract. Van Zee and the
                                                                                                                                                                           15 Debtor jointly retained HOAG Property Management, Inc. (“HOAG”) as the property manager of
                                                                                                                                                                           16 the Downey Property, and HOAG has been in place as the property manager for several years.
                                                                                                                                                                           17 Van Zee is a party to the contract pursuant to which she and the Debtor have hired HOAG as the
                                                                                                                                                                           18 property manager (hereinafter, the “HOAG Management Contract”). While a debtor-in possession
                                                                                                                                                                           19 may state an intention to reject an executory contract, a contract can only be rejected through a
                                                                                                                                                                           20 court order. 11 U.S.C. § 365(a). “[B]efore rejection actually can occur, the Court must determine
                                                                                                                                                                           21 whether it should be allowed. The Court must look at the harm to this creditor, weigh it against the
                                                                                                                                                                           22 benefit or harm to other creditors, and look at the potential harm to the debtor.” In re Aslan, 65
                                                                                                                                                                           23 B.R. 826, 831 (Bankr.C.D.Cal. 1986). In the case of a solvent or nearly solvent debtor, a
                                                                                                                                                                           24 bankruptcy court has greater discretion than to simply apply the business judgment rule to the
                                                                                                                                                                           25 debtor’s request to reject an executory contract. In re Health Plan of the Redwoods, 286 B.R. 779,
                                                                                                                                                                           26 780 (Bankr.N.D.Cal. 2002). “[I]f in the judgment of the bankruptcy court, an estate is solvent in
                                                                                                                                                                           27 the sense that a 100 percent payout will occur in the event of liquidation…it is within the
                                                                                                                                                                           28 discretion of the court to decline to authorize rejection of a contract on the grounds that no benefit

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                                                                                                                                                                            1 would accrue to the creditors from the rejection.” Robertson v. Pierce (In re Chi-Feng Huang), 23
                                                                                                                                                                            2 B.R. 798, 803 (9th Cir. B.A.P. 1982.) In the context of a solvent or near-solvent debtor, a
                                                                                                                                                                            3 bankruptcy court may deny rejection of an executory contract where there is lack of “cause” to
                                                                                                                                                                            4 justify rejection. In re Carrere, 64 B.R. 156, 160 (Bankr.C.D.Cal. 1986).
                                                                                                                                                                            5          3.     In this case, there is sufficient cause to justify rejection. The Amended Plan

                                                                                                                                                                            6 contemplates repayment of 100% of the Debtor’s arrearages, and the Debtor’s schedules
                                                                                                                                                                            7 demonstrate that a 100% payout of all claims would occur in the event of liquidation of the
                                                                                                                                                                            8 Debtor’s estate. If the Debtor is permitted to reject the HOAG Management Contract, he will be
                                                                                                                                                                            9 leaving Van Zee as the sole obligor of this contract, and will be creating a new claim against the
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                                                                                                                                                                           10 debtor’s already-solvent estate for any losses she incurs pursuant to the HOAG Management
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                                                                                                                                                                           11 Contract. Further, the Debtor will transfer de facto management of the Downey Property to
                                                                                                                                                                           12 himself, frustrating the expectations of Van Zee to have competent, experienced property
                                                                                LOS ANGELES, CALIFORNIA 90067-2512
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                                                                                                                                                                           13 management over her interest in the Downey Property pursuant to the HOAG Management
                                                                                                                                                                           14 Contract. The Debtor claims in his Amended Plan that he will hire another management company
                                                                                                                                                                           15 to replace HOAG, but Van Zee has seen no evidence of the Debtor’s efforts to retain a new
                                                                                                                                                                           16 management company, and Van Zee believes that the Debtor is using the rejection of the HOAG
                                                                                                                                                                           17 Management Contract to assume sole control over the Downey Property as its manager, against
                                                                                                                                                                           18 her wishes as the Debtor’s co-tenant in common. The Debtor has no experience operating a multi-
                                                                                                                                                                           19 family residential rental property, and Van Zee does not believe that the Debtor is capable of
                                                                                                                                                                           20 competently managing the Downey Property. Therefore, the Court should deny the rejection of the
                                                                                                                                                                           21 HOAG Management Contract.
                                                                                                                                                                           22          4.     Van Zee further requests that, if the Court does not permit the Debtor to amend the

                                                                                                                                                                           23 Amended Plan, that the case be dismissed rather than converted to Chapter 7.
                                                                                                                                                                           24 DATED: April 18, 2024                       EPPORT, RICHMAN & ROBBINS, LLP
                                                                                                                                                                                                                          By: /s/ Christopher R. Nelson
                                                                                                                                                                           25
                                                                                                                                                                                                                               CHRISTOPHER R. NELSON
                                                                                                                                                                           26                                             Attorneys for Elizabeth Ann Van Zee, as Trustee of the
                                                                                                                                                                                                                          James Charles Van Zee and Elizabeth Ann Van Zee
                                                                                                                                                                           27                                             Revocable Living Trust of July 2009
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